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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 JOSH DINWIDDIE, et al.,                                       )
            Plaintiffs,                                        )
                                                               )        No. 2:22-cv-218
 v.                                                            )
                                                               )        Honorable Paul L. Maloney
 LENOVO (UNITED STATES) INC.,                                  )
           Defendant.                                          )
                                                               )

                          ORDER RESOLVING MOTION TO DISMISS

         Plaintiff, Mr. Dinwiddie, filed this action alleging deficiencies in Defendant’s product,

 a Legion T5 28IMB05 desktop computer. Plaintiff’s amended complaint includes claims

 under the Michigan Consumer Protection Act, several state consumer fraud acts, breach of

 contract, several warranty theories, and common law fraud. (ECF No. 10). Plaintiff seeks

 injunctive and monetary relief. (Id.). Defendant moved to dismiss pursuant to Federal Rules

 of Civil Procedure 12(b)(1) and 12(b)(6). (ECF No. 12). Plaintiff filed a response in

 opposition. (ECF No. 14). Defendant filed a reply. (ECF No. 15). Defendant also filed two

 notices of supplemental authority. (ECF Nos. 16, 17).1 The Court will grant Defendant’s

 motion to dismiss.

                                                      I. Background

         Plaintiff is a gamer. Defendant manufactures Legion T5 28IMB05 desktop

 computers (the “Product”), and Plaintiff purchased one. As taken from Plaintiff’s amended



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  One of the supplemental authorities provided was an order granting a motion to dismiss in Lucero v. Lenovo (United
 States) Inc., No. SACV 23-0973 (C.D. Cal. 2024). That court summarily dismissed a complaint that mirrors the instant
 complaint.

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 complaint, Defendant markets its Product to ensure “solid performance to watch videos

 [and] play games.” (ECF No. 10 at PID 58). Further, Defendant advertised that the Product

 can “handle complex applications simultaneously,” “provides [] enough space to store all

 your documents and multimedia content,” and that the graphics card “for gaming and

 graphic designing [] delivers the optimal visual experience.” (Id.). Plaintiff interprets these

 advertisements to mean the Product will “not freeze or crash.” (Id.). Plaintiff asserts that the

 Product frequently crashes or freezes in a severe manner, which interrupted Plaintiff’s use of

 the Product. (Id. at PID 60).

        Plaintiff includes in his amended complaint three anonymous online posts that all

 mention the Product’s alleged freezing issue. (Id. at PID 58–60). Plaintiff alleges “hundreds

 of users” have the same problems with the Product. (Id. at PID 60). In Plaintiff’s case, “he

 was forced to sell it part-by-part to get money for a new device.” (Id.). Plaintiff submits that

 as a “result of the false and misleading representations, the Product is sold at a premium

 price, approximately no less than $1,999.00, excluding tax and sales, higher than similar

 products, represented in a non-misleading way, and higher than it would be sold for absent

 the misleading representations and omissions.” (Id. at 61).

                                           II. Legal Standard

        To survive a motion to dismiss under 12(b)(1), a plaintiff must show Article III

 standing. Davis v. Detroit Pub. Sch. Cmty. Dist., F. App’x 18, 22–23 (6th Cir. 2020). At this

 stage, the court “must accept as true all material allegations of the complaint and must

 construe the complaint in favor of the complaining party.” Parsons v. U.S. Dep’t. of Justice,

 801 F.3d 701, 710 (6th Cir. 2015). To establish standing, a plaintiff must show (1) an actual

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 or imminent injury in fact; (2) a causal connection between the injury and the defendant; and

 (3) that the injury is redressable by a favorable judicial decision. Lujan v. Defenders of

 Wildlife, 504 U.S. 555, 560–61 (1992).

        An injury within the meaning of Article III must be “concrete, particularized, and

 actual or imminent.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149 (2010). “A

 ‘concrete’ injury must be ‘de facto’; that is, it must actually exist.” Spokeo, Inc. v. Robins,

 578 U.S. 330, 340 (2016) (citing Black’s Law Dictionary 479 (9th ed. 2009)). A concrete

 injury must be real and not abstract. Id. A future injury must be “certainly impending.”

 Clapper v. Amnesty Int'l. USA, 568 U.S. 398, 401 (2013).

        A motion to dismiss for failure to state a claim under Rule 12(b)(6) tests whether a

 cognizable claim was pled in the complaint. Scheid v. Fanny Farmer Candy Shops, Inc., 859

 F.2d 434, 436 (6th Cir. 1988). To survive a motion to dismiss, a plaintiff must allege facts

 sufficient to state a claim for relief that is “plausible on its face” and, when accepted as true,

 are sufficient to “raise a right to relief above the speculative level.” Mills v. Barnard, 869 F.3d

 473, 479 (6th Cir. 2017) (citation omitted). “The complaint must ‘contain either direct or

 inferential allegations respecting all material elements necessary for recovery under a viable

 legal theory.’” Kreipke v. Wayne State Univ., 807 F.3d 768, 774 (6th Cir. 2015) (citation

 omitted). To resolve a motion to dismiss, a court must accept as true all factual allegations,

 but it need not accept any legal conclusions. Ctr. for Bio-Ethical Reform, Inc. v. Napolitano,

 648 F.3d 365, 369 (6th Cir. 2011).




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                                            III. Analysis

        Plaintiff brings several claims. Count 1: Michigan Consumer Protection Act; Count

 2: Violation of State Consumer Fraud Acts; Count 3: Breach of Contract; Count 4: Breach

 of Express Warranty, Implied Warranty of Merchantability, and Magnuson-Moss Warranty

 Act; Count 5: Common Law Fraud.

 A. Michigan Consumer Protection Act and Common Law Fraud

    Defendant moved to dismiss these claims under 12(b)(6). First, Defendant argues that

 Plaintiff’s common law fraud and Michigan Consumer Protection Act (“MCPA”) must fail

 because he has not alleged how Defendant misstates or omitted any material facts about the

 Product. In response, Plaintiffs contends he met Rule 8’s requirements by citing Defendant’s

 advertisements and asserting that hardware and software defects prevented the Product from

 working as advertised.

        As an initial matter, Plaintiff does not specify which section of the MCPA he brings

 his claim under. His amended complaint merely states, “Michigan Consumer Protection

 Act, § 445.901, et seq.” (ECF No. 10 at 64). Plaintiff’s brief in response to Defendant’s

 motion to dismiss says he “plausibly alleged deception.” (ECF No. 14 at PID 104). The

 MCPA proscribes certain “[u]nfair, unconscionable, or deceptive methods, acts or practices

 in the conduct of trade or commerce.” Mich. Comp. Laws § 445.903(1). Affirmative

 misrepresentations, such as misrepresenting the quality or characteristics of a product, and

 material omissions, such as failing to reveal a material fact in such a way as to mislead or

 deceive a consumer, are included within the definition of “unfair, unconscionable, or

 deceptive” acts under the MCPA. Id. §§ 445.903(1)(d) & (s). The MCPA also proscribes

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 “[f]ailing to reveal a material fact, the omission of which tends to mislead or deceive the

 consumer, and which fact could not reasonably be known by the consumer.” Mich. Comp.

 Laws § 445.903(1)(s).

        Michigan courts permit consumers to bring MCPA claims premised on theories of

 fraud or breach of implied warranty. See Mikos v. Chrysler Corp., 158 Mich. App. 781, 404

 N.W.2d 783, 785 (Mich. Ct. App. 1987); Zanger v. Gulf Stream Coach, Inc., No. 05–72300,

 2005 WL 3416466, at *11 (E.D. Mich. Dec. 15, 2005). Rule 9(b)’s heightened pleading

 requirements apply to MCPA allegations of fraudulent conduct but not allegations of breach

 of implied warranty. In re Packaged Ice Antitrust Litig., 779 F. Supp. 2d 642, 666 (E.D.

 Mich. 2011).

        Turning to the common law fraud claim, the Michigan Supreme Court set out the

 elements of an actionable fraud claim in Hi–Way Motor Co. v. Int’l Harvester Co., 247

 N.W.2d 813, 816 (Mich. 1976):

        The general rule is that to constitute actionable fraud it must appear: (1) That
        defendant made a material representation; (2) that it was false; (3) that when
        he made it he knew that it was false, or made it recklessly, without any
        knowledge of its truth, and as a positive assertion; (4) that he made it with the
        intention that it should be acted upon by plaintiff; (5) that plaintiff acted in
        reliance upon it; and (6) that he thereby suffered injury. Each of these facts
        must be proved with a reasonable degree of certainty, and all of them must be
        found to exist; the absence of any one of them is fatal to a recovery.

 Id. at 816 (citations and internal quotations omitted).

        Plaintiff relies on Defendant’s advertisements, but nowhere in those advertisements

 does Defendant promise that the Product would “not freeze or crash,” “function reliably,”




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 or “run smoothly” as alleged in the amended complaint. Plaintiff’s claims based on these

 assertions fail to state a claim.

          Plaintiff also relies on Defendant’s advertisement that the Product offers “solid

 performance” to sustain a claim for fraudulent misrepresentation. This marketing phrase is

 general and vague. Rule 9 requires that in “alleging fraud or mistake, a party must state with

 particularity the circumstances constituting fraud or mistake.” Fed. R. Civ. P. 9(b). In the

 Court’s judgment, use of the phrase “solid performance” is not sufficient to permit a claim;

 it is an unspecific and immeasurable term.

          In essence, Plaintiff strung together some marketing language and now pleads fraud

 in a deficient manner. A court concluded the same when Plaintiff’s counsel2 brought a similar

 action in Vivar v. Apple Inc., No. 22 Civ. 0347, 2022 WL 4227309, at *1 (S.D.N.Y. Sept.

 12, 2022). There, a plaintiff brought a fraud claim and cited Apple’s general advertisements.

 Id. at *5. The court explained that the complaint did not pass muster:

          The problem with Vivar’s argument is that the Complaint does not contain
          any facts to substantiate that Apple ever made these representations. The
          Complaint includes advertisements from Apple stating that “each earbud has
          up to 9 hours of listening time, Powerbeats are “powered by the Apple H1
          Chip”, and the earbuds have “dual audio controls”. However, Vivar does not
          include the allegedly deceptive advertisement upon which he bases this suit,
          nor does he provide any other facts to substantiate that Apple “conveyed in
          writing and promised [Powerbeats] would be defect-free” and made
          “representations affirm[ing] and promis[ing] that the Product . . . would
          maintain its charge equally and consistently.”




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  Much of Defendant’s brief in support of its motion to dismiss is dedicated to attacking Plaintiff’s counsel, Sheehan &
 Associates, P.C.

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 Id. at *6 (citations and quotations omitted). Much like in Vivar, Plaintiff’s claims are

 premised on general marketing language, which Plaintiff then construed as deceptive

 guarantees. Plaintiff failed to state a claim under MCPA or common law fraud.

        Plaintiff also claims Defendant made omissions in advertising the Product. (ECF No.

 10 at PID 61–64). But Plaintiff does not identify what omissions Defendant supposedly

 made. Again, these assertions are too vague and conclusory to sustain a claim. Plaintiff’s

 MCPA and common law fraud claims are dismissed for failure to state a claim.

        Plaintiff also raises consumer fraud claims from Utah, West Virginia, Montana,

 Wyoming, Iowa, Nebraska, Mississippi, South Carolina, and Oklahoma. (ECF No. 10 at

 PID 63). Plaintiff seeks class certification for a Michigan class (under the MCPA) and class

 certification for a multi-state class under each individual state statute. (Id.). Because those

 statutes are similar to the MCPA, Plaintiff’s multi-state claims fail for the same reasons his

 MCPA claim fails.

 B. Breach of Contract

        Plaintiff alleges that he and Defendant entered into a contract and that the terms

 include the advertising language discussed above. Plaintiff argues that Defendant breached

 the contract when the “Product did not function reliably, did not run smoothly during

 operation subject to normal use, and did freeze and crash.” (ECF No. 10 at PID 65).

 Defendant counters that it was never in privity with Plaintiff because Plaintiff purchased the

 computer from a third-party retailer.

        To state a claim for breach of contract under Michigan law, a claimant must establish

 that “‘(1) there was a contract; (2) which the other party breached; and (3) thereby resulting

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 in damages to the party claiming breach.’” El-Khalil v. Oakwood Healthcare, Inc., 934

 N.W.2d 665, 672 (Mich. 2019) (quoting Miller-Davis Co. v. Ahrens Constr., Inc., 848 N.W.

 2d 95, 104 (Mich. 2014)). “Privity of contract exists between contracting parties and intended

 beneficiaries.” Schechner v. Whirlpool Corp., 237 F. Supp. 3d 601, 608 (E.D. Mich. 2017).

        Plaintiff failed to state a proper breach of contract claim because Plaintiff and

 Defendant lack privity. Plaintiff’s amended complaint makes clear that Plaintiff purchased

 the Product from a third-party retailer and not from Defendant. (ECF No. 10 at PID 62).

 There are no factual assertions in the amended complaint supporting the notion that Plaintiff

 and Defendant assented to the terms of a contract. Plaintiff and Defendant lack privity. See

 Schechner v. Whirlpool Corp., 237 F. Supp. 3d 601, 608 (E.D. Mich. 2017) (“Plaintiffs

 allege that they bought their ovens from third-party retailers, not directly from [defendant] .

 . . Therefore “[n]o privity of contract exists between [Plaintiffs], who [bought] from a retailer,

 and [defendant] who has not sold directly to the consumer.”). Plaintiff “fails to construct a

 set of facts that would permit the inference that there were any affirmative promises to him

 that could be breached.” Calixte v. Walgreen Co., No. 22 C 1855, 2023 WL 2612595, at *4

 (N.D. Ill. Mar. 23, 2023). See also Bondick v. Ricoh Imaging Americas Corp., No. 21 C

 6132, 2022 WL 2116664, at *6 (N.D. Ill. June 13, 2022). Plaintiff’s breach of contract claim

 is dismissed.

 C. Express Warranty

    Plaintiff alleges that Defendant breached an express warranty because Defendant

 “affirmed and promised that the Product would function reliably, not freeze or crash, and

 run smoothly during operation, subject to normal and intended use.” (ECF No. 10 at PID

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 66). Plaintiff further alleges that these product affirmations became the basis of the bargain,

 and Defendant breached the express warranties. (Id.).

    Under Michigan law, “privity of contract is necessary for a remote purchaser to enforce

 a manufacturer’s express warranty.” Montgomery v. Kraft Foods Global, Inc., 822 F.3d 304,

 308 (6th Cir. 2016) (quoting Heritage Res., Inc. v. Caterpillar Fin. Servs. Corp., 774 N.W.2d

 332, 343 n.12 (Mich. Ct. App. 2009)). As explained above, Plaintiff and Defendant lack

 privity because Plaintiff purchased the Product from a third-party retailer. Also, none of

 Defendant’s marketing expressly promised that the Product would not freeze or crash and

 run smoothly during operation. Plaintiff’s express warranty claim is dismissed.

 D. Implied Warranty

    Plaintiff’s implied warranty claim fails for a lack of notice. Michigan law requires that

 buyers provide a manufacturer with pre-suit notice of a warranty claim. “MCL 440.2607(3)(a)

 provides: ‘Where a tender has been accepted . . . the buyer must within a reasonable time

 after he discovers or should have discovered any breach notify the seller of breach or be

 barred from any remedy [.]’” Gorman v. Am. Honda Motor Co., 839 N.W.2d 223, 229–30

 (Mich. Ct. App. 2013). Plaintiff’s amended complaint does not plead how he provided notice

 to Defendant. Plaintiff’s brief maintains he provided notice “by filing this action on

 November 22, 2022.” (ECF No. 14 at PID 112). Here, Plaintiff provided Defendant no

 notice that he believed Defendants was in breach prior to filing suit. Accordingly, Plaintiff is

 “barred from any remedy” under his implied warranty theory. Mich. Comp. Laws

 400.2607(3)(a). Plaintiff’s implied warranty claim is dismissed.

 E. Magnuson-Moss Warranty Act

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     The Magnuson–Moss Warranty Act (“MMWA”) provides a civil claim for relief for

  consumers who are damaged by a supplier or warrantor’s failure to comply with its

  obligations under a written or implied warranty or under the MMWA in issuing such a

  warranty. 15 U.S.C. § 2310(d)(1). To state a claim under the MMWA, a plaintiff must

  demonstrate that (1) the item at issue was subject to a warranty; (2) the item did not conform

  to the warranty; (3) the seller was given reasonable opportunity to cure any defects; and (4)

  the seller failed to cure the defects within a reasonable time or a reasonable number of

  attempts. Temple v. Fleetwood Enters., Inc., 133 F. App’x. 254, 268 (6th Cir. 2005). This

  claim fails for the same reasons as Plaintiff’s express and implied warranty claims fail. See

  Bondick, 2022 WL 2116664, at *6 (dismissing a plaintiff’s MMWA claim after dismissing

  both of Plaintiff’s express and implied warranty claims).

  F. Injunctive Relief

     Finally, because all of Plaintiff’s claims fail, Plaintiff’s claims for injunctive relief

  necessarily fail. A plaintiff must demonstrate “that he is under threat of suffering ‘injury in

  fact’ that is concrete and particularized; the threat must be actual and imminent, not

  conjectural or hypothetical; it must be fairly traceable to the challenged action of the

  defendant; and it must be likely that a favorable judicial decision will prevent or redress the

  injury.” Summers v. Earth Island Inst., 555 U.S. 488, 493 (citing Friends of Earth, Inc. v.

  Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000)). Plaintiff’s amended

  complaint merely states that he “intends to, seeks to, and will purchase the Product again

  when he can do so . . . .” (ECF No. 10 at PID 63). Plaintiff’s vague assertion does not amount

  to Article III standing.

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                                         IV. Conclusion

         The Court will grant Defendant’s motion to dismiss in full. Plaintiff failed to

  adequately plead his claims.

         IT IS HEREBY ORDERED that Defendant’s motion to dismiss (ECF No. 12) is

  GRANTED.

  IT IS SO ORDERED.

  Date: March 27, 2024                           /s/ Paul L. Maloney
                                                        Paul L. Maloney
                                                        United States District Judge




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